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                           IN THE UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TEXAS
                                   TEXARKANA DIVISION

  UNITED STATES OF AMERICA,                         §
                                                    §
  v.                                                §    CASE NO. 19-cr-00025-RWS
                                                    §
  STEVEN DONOFRIO                                   §
  _________________________________/

                                      JOINT STATUS REPORT

         STEVEN DONOFRIO respectfully files this Joint Status Report pursuant to the Court’s

  Order (Dkt. No. 647). Counsel for Mr. Donofrio have conferred with the Government. The trial

  schedules for counsels for Mr. Donofrio remain the same. Likewise, the government indicated no

  changes in their trial schedules and stated they will be ready for trial on the date set by the court.

                                                 Respectfully submitted,


                                                 /s/ Andrew S. Feldman
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                                 CERTIFICATE OF SERVICE

         I hereby certify on this date that the foregoing has been served on counsel of record by
  Notice of Electronic filing via CM/ECF.


                                             /s/ Andrew S. Feldman         ___________
